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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF NEW YORK

                                                         )
 In re:                                                  )      Chapter 11
                                                         )
 BLOCKBUSTER INC, et al.,                                )      Case No. 10-14997 (BRL)
                                                         )
                     Debtors.                            )      Jointly Administered
                                                         )

             ORDER GRANTING MOTION OF e-REWARDS, INC. FOR
      RELIEF FROM THE AUTOMATIC STAY NUNC PRO TUNC TO APRIL 1, 2011

          Upon the Objection of e-Rewards, Inc. to Debtors’ Assumption and Assignment of

 Executory Contract and Motion for Relief from the Automatic Stay Nunc Pro Tunc to April 1,

 2011 (the “Request”)1 for entry of an order granting, in part, the Request to provide e-Rewards

 relief from the automatic stay to allow e-Rewards to provide written notice of non-renewal of the

 Agreement in accordance with the terms thereof for the purposes set forth in the Request and

 waiving the 14-day stay on orders granting relief from the automatic stay; and this Court having

 jurisdiction to consider the Request and the relief requested therein pursuant to 28 U.S.C. §§ 157

 and 1334; and consideration of the Request and the relief requested therein being a core

 proceeding pursuant to 28 U.S.C. § 157(b); and venue appearing proper before this Court

 pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Request appearing to be adequate and

 appropriate under the circumstances; and after due deliberation and sufficient cause appearing

 therefor, it is hereby ORDERED that:

          1.         The relief requested in the Request is granted to the extent set forth herein.

          2.         Blockbuster, L.L.C. (“New Blockbuster”), as DISH Network Corporation’s

 (“DISH”) permitted assignee under the Asset Purchase and Sale Agreement by and between the



          1
              Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Request.
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 Debtors and DISH, amended and restated as of April 20, 2011, shall be entitled to use, during the

 twenty-four month period following the date this order is entered by the Court, outstanding

 Barter Credits (as such term is defined in the Agreement) in the amount of $1,175,030.00 (the

 “New Blockbuster Barter Credits”) pursuant to Section 5.3(c) of the Agreement, which amount

 represents the total outstanding Barter Credits held by the Debtors as of April 1, 2011, after

 setting off certain amounts in connection with services rendered by e-Rewards prior to entry of

 this Order.

          3.    For the avoidance of doubt, New Blockbuster’s rights with respect to the New

 Blockbuster Barter Credits are limited to those rights set forth in this Order, and New

 Blockbuster shall not be entitled to elect to receive a cash payment in an amount equal to 50% of

 any surplus of such New Blockbuster Barter Credits for any given calendar year, as originally

 contemplated by Section 5.3(f) of the Agreement.

          4.    Except as otherwise provided in this Order, e-Rewards hereby relinquishes all

 claims it may have against the Debtors, in connection with the Agreement.

          5.    The automatic stay imposed by Bankruptcy Code section 362 is modified to allow

 e-Rewards to provide written notice of non-renewal of the Agreement nunc pro tunc to April 1,

 2011, substantially in the form attached hereto as Exhibit 1.

          6.    The Agreement Term (as such term is defined in the Agreement) shall expire

 effective as of June 30, 2011 and shall not be renewed for an additional term.

          7.    Any claims, administrative or otherwise, that e-Rewards has asserted or may

 assert against the Debtors are hereby deemed to be withdrawn or settled as of the date of this

 Order.




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        8.      The 14-day stay on orders granting relief from the automatic stay provided in

 Bankruptcy Rule 4001(a)(3) is hereby waived.

        9.      The Debtors, New Blockbuster and e-Rewards are authorized to take all actions

 necessary to effectuate the relief granted pursuant to this Order in accordance with the Request.

        10.     The Court retains jurisdiction with respect to all matters arising from or related to

 the implementation of this Order.



 Dated: New York, New York                            /s/Burton R. Lifland__________
        July 28, 2011                                 United States Bankruptcy Judge




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                                   EXHIBIT 1

                      Notice of Non-renewal of the Agreement
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